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1     Rehana Jabeen
2     ACP 4802 P.O. Box 1110                                          7/6/2022
                                                                        eva
3     Albany NY 12201-1110
4     716-263-4916
5     Plaintiff in Pro Per
6
7
8
9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11
12    Mohammed Hameed Khan                            Case No.: 5:21-cv-00663-JWH-SPx
13                 Plaintiff,                         Suggestion of Bankruptcy
14          vs.
15    Rehana Jabeen
16                 Defendant.
17
18    Comes now the Defendant Rehana Jabeen, through his/her undersigned attorney,
19    and would show the Court:
20
21       1. The Defendant has filed a petition for relief under Chapter 7, United States
22          Code, in the United Stated Bankruptcy Court for the Western District of
23          New York, which bears the case number: 1-22-10556-CLB.
24       2. Relief was ordered on June 16, 2022.
25       3. This is for informational purposes only. And does not constitute a notice of
26          appearance by the undersigned
27
28    WHEREFORE, the defendant suggests that this action has been stayed under

                                                  1
                                       Insert Title of Pleading
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